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Case 4. 17 cr 00122 YIN PIPECHM]€E% SGTATEE|§§QISQ_%Y/SOZJRTF age LU{II§LAE’§J,QH§PI@F TEXAS
FoR THE NoRrHERN DISTRICT oF TEXAS F§L;-LB
FoRT woRTH DIvIsIoN
UNITED sTATES 0F AMERICA JUN 2 0 ZUN
v. No. 4;17-MJ-455
CLERK, U.s. DISTRICT coURT
ANTHONY ALEXANDER FERRARI (01) By
Deputy

 

 

 

GOVERNMENT'S MOTION FOR PRETRIAL DE 1 his 1 lum

The United States moves for pretrial detention of the defendant pursuant to 18 U.S.C. §§ 3142(e) and (f).

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1. Eligibili§y of Case: This case is eligible for a detention order because the case involves:
Crime of violence [18 U.S.C. § 3156]

Maximum sentence of LIFE imprisonment or death

Controlled Substance offense punishable by 10 or more years

Felony with 2 prior convictions in above categories

Felony involving a minor victim

v Felony involving the possession or use of a firearm, destructive device, or other dangerous weapon

Felony involving a failure to register under 18 U.S.C. § 2250
Serious risk that the Defendant will flee
Serious risk that Defendant will obstruct justice

2. Reason for Detention. The Court should detain the Defendant because there are no conditions of release which

would reasonably assure:

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Defendant's appearance as required
The safety of the community
The safety of another person.

3. The United States will invoke the rebuttable presumption against the Defendant because: there is probable cause to
believe that the Defendant has committed:

A Controlled Substance Offense punishable by 10 or more years imprisonment

A firearms offense under Title 18, United States Code, Section 924(c)

A federal crime of terrorism punishable by 10 or more years imprisonment

A Felony -listed in 18 U.S.C. § 3142(e) - involving a minor victim

A Felony involving a failure to register under 18 U.S.C. § 2250

The Defendant has previously been convicted of an offense described in 18 USC 3142(f`)(l) which was committed
while the Defendant was released on bond pending trial for any offense and less than 5 years have elapsed since the
latter of the defendant’s conviction or date of release from imprisonment for such conviction..

4. Time for Detention Hearing. The United States requests the Court to conduct the detention hearing
at the Defendant's first appearance EI Afcer a continuance of 3 days.

 

 

Assistant United States Attomey
Texas State Bar No.24062396
801 Cherry Street, Suite 1700
Fort Worth, Texas 76102
Telephone: 817-252-5200
Facsimile: 817-252-5455

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the above pleading was this o ay served upon the Defendant or his counsel of

 

record in accordance with the provisions of Rule 49 of the FedenZ/l§ges/,¢ iminal Procedure.

 
    

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DATE: June 20, 2017 iv ,, / §§

J/L
PRANK L. GATTO ’
Assistant United States Attomey

 

